




NO. 07-01-0362-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



OCTOBER 11, 2001



______________________________





ROYCE L. WELLINGTON, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE





_________________________________



FROM THE 140
TH
 DISTRICT COURT OF LUBBOCK COUNTY;



NO. 2001-435469; HONORABLE JIM BOB DARNELL, JUDGE



_______________________________



Before BOYD, C.J., and QUINN and JOHNSON, JJ.

Pending before the Court is a “Motion for Appeal of Conviction,” filed by appellant Royce L. Wellington, an Appeals Certificate by the clerk for the 140
th
 District Court of Lubbock County, and a Clerk’s Record as to Cause Number 2001-435,469 in the 140
th
 District Court of Lubbock County. &nbsp;We dismiss for want of jurisdiction.



 &nbsp;&nbsp;	By his Motion for Appeal appellant sought the trial court’s approval to appeal from his conviction pursuant to a plea-bargained guilty plea for Aggravated Assault-Public Servant. &nbsp;The judgment was signed on June 1, 2001; sentence was imposed on June 1, 2001; no Motion for New Trial was filed, except to the extent appellant’s Motion for Appeal could be construed as an untimely Motion for New Trial
; appellant’s Motion for Appeal was filed on August 28, 2001. 

 &nbsp;	In a criminal case, appeal is perfected by timely filing a notice of appeal. &nbsp;
Tex. R. App. P.
 25.2(a). &nbsp;The notice of appeal must be filed within 30 days after the day sentence is imposed or after the day the trial court enters an appealable order, unless a timely motion for new trial is filed. 
TRAP
 &nbsp;26.2(a). &nbsp;A motion for new trial may be filed by a criminal defendant no later than 30 days after the date sentence is imposed in open court. &nbsp;
TRAP
 21.4(a). &nbsp;The time for filing a notice of appeal may be extended for 15 days under certain circumstances. 
TRAP
 26.3. &nbsp;If the time for filing a notice of appeal is to be extended, both a notice of appeal and a motion for extension of time which complies with TRAP 10.5(b) must be filed within the 15 day period. &nbsp;TRAP 26.3; &nbsp;
Olivo v. State
, 918 S.W.2d 519, 523-25 (Tex.Crim.App. 1996). &nbsp;

An untimely-filed notice of appeal will not invoke the jurisdiction of the court of appeals. &nbsp;
See
 
State v. Riewe
, 13 S.W.2d 408, 411 (Tex.Crim.App. 2000). &nbsp;Thus, if an appeal is not timely perfected, a court of appeals does not have jurisdiction to address the merits of the appeal, and can take no action other than to dismiss the appeal. &nbsp;
Slaton v. State
, 981 S.W.2d 208, 210 (Tex.Crim.App. 1998); 
Olivo v. State
, 918 S.W.2d at 523-25.

To the extent appellant’s Motion for Appeal is a Motion for New Trial it was not timely to extend the time for filing notice of appeal; to the extent appellant’s Motion for Appeal is a notice of appeal, it was not timely filed.
 &nbsp;A motion to extend time to file notice of appeal was not filed. &nbsp;Accordingly, this court does not have jurisdiction over this proceeding. &nbsp;
Slaton
, 981 S.W.2d at 210; 
Olivo
, 918 S.W.2d at 523. &nbsp;

The matter is dismissed for want of jurisdiction. &nbsp;
TRAP
 39.8, 40.2, 43.2. 



Phil Johnson

 &nbsp;&nbsp;Justice





Do not publish.


